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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

  Civil Action No. 15-cv-00302-GPG

  YSIDRO LONGORIA,

        Plaintiff,
  v.

  CORRECTIONS CORPORATION OF AMERICA,
  CORRECTIONS OFFICER (C.O.) DENNIS KASTELIC, in his individual capacity and
        as an employee of CCA,
  C.O. GLENDA LUCERO, in her individual capacity and as an employee of CCA,
  C.O. LINDA BRADFORD, in her individual capacity and as an employee of CCA,
  C.O. BRANDON FLOREZ, in his individual capacity and as an employee of CCA,
  C.O. ANTHONY ROMERO, in his individual capacity and as an employee of CCA,
  C.O. ROSEANN JARAMILLO, in her individual capacity and as an employee of CCA,
  C.O. TIFFANY MAREZ, in her individual capacity and as an employee of CCA,
  C.O. DAVID LAMBERT, in his individual capacity and as an employee of CCA,
  C.O. STEVE MEDINA, in his individual capacity and as an employee of CCA
  C.O. CHIEF JOHN DOE 1, in his individual capacity and as an employee of CCA,

        Defendants.


                                 ORDER DRAWING CASE


        After review pursuant to D.C.COLO.LCivR 8.1(b), the Court has determined that

  this case should be drawn to a presiding judge and, if appropriate, to a magistrate

  judge. See D.C.COLO.LCivR 40.1(a). Accordingly, it is

        ORDERED that this case shall be drawn to a presiding judge and, if appropriate,

  to a magistrate judge.

        DATED February 18, 2015, at Denver, Colorado.

                                                  BY THE COURT:

                                                  S/ Gordon P. Gallagher


                                                  United States Magistrate Judge
